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 4
   Attorney for Defendant,
 5 DERRICK JOHNSON
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )               No. 2:08-cr-00427-MCE
10                                       )
                 Plaintiff,              )               STIPULATION AND
11                                       )               ORDER CONTINUING SENTENCING
           v.                            )               DATE
12                                       )
     DERRICK JOHNSON, et al.,            )
13                                       )
                 Defendants.             )
14   ____________________________________)
15 The parties hereby stipulate as follows:
16 1. This matter is now set for judgment and sentence proceedings on January 28, 2010.
17 2. The parties agree to continue judgment and sentence proceedings until March 25, 2010. The
18 continuance is necessary to afford counsel additional time to locate and obtain documents, and in
19 furtherance of the plea agreement.
20 3. The parties agree to the following schedule concerning the presentence report:
21         Date of Sentencing    :       March 25, 2010
22         Motion for Correction
           due:                  :       March 18, 2010
23
           Presentence Report
24         due:                          March 11, 2010
25         Informal Objections
           due:                          March 4, 2010
26
           Draft PSR due:                February 25, 2010
27
28
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 1                                              ORDER
 2         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, judgment
 3 and sentencing is continued until March 25, 2010 at 9:00 a.m., and the January 28, 2010 court
 4 date is vacated. The court adopts the schedule concerning the presentence report pursuant to the
 5 parties’ stipulation.
 6
     Dated: December 28, 2009
 7
                                                ________________________________
 8                                              MORRISON C. ENGLAND, JR.
                                                UNITED STATES DISTRICT JUDGE
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